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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ALBERT EINSTEIN HEALTHCARE          )
NETWORK d/b/a ALBERT EINSTEIN       )
MEDICAL CENTER, et al.,             )
                                    )
              Plaintiffs,           )              Case No.: 17-cv-1134 et al. (ABJ)
       v.                           )
                                    )
ALEX M. AZAR II, Secretary          )
of Health and Human Services,       )
                                    )
              Defendant.            )
____________________________________)

             NOTICE OF CURRENTLY PENDING ALLINA II-TYPE CASES

       Pursuant to the Court’s Minute Order of July 9, 2019, Defendant respectfully attaches as

Exhibit A to this Notice a list of known, currently pending Allina II-type cases that may be the

subject of Defendant’s anticipated motion to consolidate. Because new cases continue to be filed

and Defendant may not learn of newly-filed cases immediately, this list may be underinclusive.

Dated: July 11, 2019

                                                   Respectfully submitted,


                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   MICHELLE R. BENNETT
                                                   Assistant Director, Federal Programs Branch

                                                   By: /s/ Serena M. Orloff
                                                   SERENA M. ORLOFF
                                                   California Bar No. 260888
                                                   Trial Attorney, U.S. Department of Justice
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